                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                         )
                      Plaintiff,                   )
                                                   )
 vs.                                               )      CASE NO. DNCW3:01CR183-3-T
                                                   )      (Financial Litigation Unit)
                                                   )
 JOHN WILSON LOCKE,                                )
                                Defendant,         )
 and                                               )
                                                   )
 OLEARY GROUP WASTE SYSTEMS LLC,                   )
                     Garnishee.                    )

                        ORDER OF CONTINUING GARNISHMENT

       THIS MATTER is before the Court on the answer of Oleary Group Waste Systems LLC,

as Garnishee. On September 25, 2002, the Honorable Lacy H. Thornburg sentenced Defendant to

24 months of incarceration for his conviction of Conspiracy to Commit Bank Fraud and Making,

Uttering and Possessing Forged and Counterfeit Securities in violation of 18 U.S.C. §371, 1344,

and 513; and Making, Uttering and Possessing Forged and Counterfeit Securities in violation of

18 U.S.C. §513 Judgment in the criminal case was filed on October 16, 2002 (Docket No. 87).

As part of that Judgment, Defendant was ordered to pay an assessment of $200 and restitution of

$281,914.34 to the victims of the crime. Id.

       On May 20, 2015, the Court entered a Writ of Continuing Garnishment ("Writ") (Docket

No. 203), to Garnishee, Oleary Group Waste Systems LLC, ("Garnishee"). The United States is

entitled to a wage garnishment of up to twenty-five percent of net income and has satisfied the

prerequisites set forth in 15 U.S.C. §1673. Defendant was served with the Writ on May 22, 2015,

and Garnishee was served on May 21, 2015. Garnishee filed an Answer on June 16, 2015 (Docket




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No. 208), stating that at the time of the service of the Writ, Garnishee had in their custody, control

or possession property or funds owned by Defendant, including non-exempt, disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $259,242.33 computed through July 6, 2015. Garnishee will pay the

United States up to twenty-five percent of Defendant's net earnings which remain after all

deductions required by law have been withheld and one hundred percent of all 1099 payments,

and Garnishee will continue said payments until the debt to the Plaintiff is paid in full or until

Garnishee no longer has custody, possession or control of any property belonging to Defendant or

until further Order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to:

                              Clerk of the United States District Court
                                       401 West Trade Street
                                        Charlotte, NC 28202

       In order to ensure that each payment is credited properly, the following should be included

on each check: Court Number DNCW3:01CR183-3-T.

       IT IS FURTHER ORDERED that Garnishee will advise this Court if Defendant’s

employment is terminated at any time by Garnishee or Defendant.

       Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset Program.

Under this program, any federal payment Defendant would normally receive may be offset and

applied to this debt.




                                             Signed: October 5, 2015




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